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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION


JEFFREY GIANCASPRO,

                   Plaintiff,

v.                                                                       Case No. 3:20-cv-346-J-39MCR

NOVARTIS PHARMACEUTICALS
CORPORATION,

                   Defendant.


                              IMPORTANT INFORMATION ABOUT YOUR CASE
                                     PLEASE READ AND FOLLOW

        TAKE NOTICE, that in accordance with Local Rule 3.05, this action is designated as a
TRACK TWO CASE. The Court's goal is to try most Track Two cases within 12-18 months of
filing. The filing party (that is, the party that instituted suit in this Court) is responsible for
serving a copy of this Notice and its attachments upon all other parties. The parties should
conduct a case management conference (either in person or by telephone1) and file their Case
Management Report no later than 60 days after service or 40 days after the appearance of any
defendant, whichever is sooner.2 In preparing their Report, the parties shall consult the Federal
Rules of Civil Procedure and the Local Rules (available from the Clerk or at
http://www.flmd.uscourts.gov). Counsel for all parties share the obligation to timely comply with
the requirements of Local Rule 3.05 and are reminded that they must do so despite the pendency
of any undecided motions. All parties must send courtesy copies to chambers of all filings that
exceed 25 pages, inclusive of exhibits, regardless of whether the filing is done electronically or in
paper.

       The parties are advised that if they fail to use the attached Case Management Report
form, the Court will set a schedule and select a mediator as the Court deems appropriate.

Date: April 15, 2020                                          ELIZABETH M. WARREN, CLERK
                                                              By: s/VA fã|ÇàÉÇ
                                                                   Deputy Clerk
Copies to:         Counsel of Record
                   Pro Se Parties
Attachments:       Case Management Report form
                   AO 85 Consent to Magistrate Judge Jurisdiction form



      If all parties agree to conduct the case management conference by telephone, they may do so without filing
a motion with the Court.




[Track 2 updated 1/11/2016]
